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 1    DENNIS J. HERRERA (CA Bar #139669)
      City Attorney
 2    JESSE C. SMITH (CA Bar #122517)
      Chief Assistant City Attorney
 3    RONALD P. FLYNN (CA Bar #184186)
      Chief Deputy City Attorney
 4    YVONNE R. MERÉ (CA Bar #173594)
      Chief of Complex and Affirmative Litigation
 5    SARA J. EISENBERG (CA Bar #269303)
      TARA M. STEELEY (CA Bar #231775)
 6    AILEEN M. McGRATH, (CA Bar #280846)
      Deputy City Attorneys
 7
      City Hall, Room 234
 8    1 Dr. Carlton B. Goodlett Place
      San Francisco, California 94102-4602
 9    Telephone:      (415) 554-4748
      Facsimile:      (415) 554-4715
10    E-Mail:        sara.eisenberg@sfcityatty.org
11
      COUNSEL FOR PLAINTIFF
12
13                               IN THE UNITED STATES DISTRICT COURT

14                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

15                                       SAN FRANCISCO DIVISION
16    CITY AND COUNTY OF SAN                            STIPULATION AND [PROPOSED]
      FRANCISCO,                                        FINAL JUDGMENT AND ORDER
17                   Plaintiff,
18               v.
                                                        No. 3:17-cv-00485-WHO
19    DONALD J. TRUMP, et al.,
                      Defendants.
20
21    COUNTY OF SANTA CLARA,
                     Plaintiff,
22              v.

23    DONALD J. TRUMP, et al.,                          No. 3:17-cv-00574-WHO
                      Defendants.
24
25          WHEREAS, the underlying actions commenced as cases styled City and County of San

26   Francisco v. Trump (No. 3:17-cv-00485-WHO) and County of Santa Clara v. Trump (No. 3:17-

27   cv-00574-WHO), hereinafter collectively referred to as the “Litigation,” asserting claims

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 1   challenging the constitutionality of Section 9 of Executive Order Number 13768, entitled
 2   “Enhancing Public Safety in the Interior of the United States” (“Section 9”);
 3           WHEREAS, on November 20, 2017, the United States District Court for the Northern
 4   District of California granted summary judgment in favor of Plaintiffs on these claims and
 5   entered a permanent, nationwide injunction barring enforcement of Section 9;
 6           WHEREAS, on August 1, 2018, in the Litigation upon appeal, the United States Court of
 7   Appeals for the Ninth Circuit affirmed the District Court’s grant of summary judgement and
 8   injunction as to the Executive Order’s effect in California but vacated the nationwide injunction
 9   for further consideration by the District Court (see City and County of San Francisco v. Trump,
10   897 F.3d 1225 (9th Cir. 2018)); and
11           WHEREAS, the constitutionality of Section 9 is not currently being actively litigated
12   elsewhere in the nation and the Parties wish to avoid the need to expend further resources on
13   resolving these issues,
14           WHEREAS, assuming approval by the Court of the joint Stipulation and Final Judgment,
15   the pending Case Management Conference scheduled for August 20, 2019 may be cancelled as
16   moot,
17           NOW THEREFORE, the parties hereby jointly stipulate to the following:
18       1. Final Judgment is hereby entered in favor of the Plaintiffs on the merits for the reasons set
19           forth in City and County of San Francisco v. Trump, 897 F.3d 1225 (9th Cir. 2018);
20       2. All Parties agree that the deadline for further review of the Ninth Circuit’s August 1, 2018
21           decision has passed. Out of an abundance caution, however, the Parties agree that
22           Defendants shall not seek to pursue any further review from (1) the Ninth Circuit’s
23           decision of August 1, 2018, or (2) the final judgments entered in these cases.
24       3. The enforcement of Section 9 within the State of California is hereby enjoined;
25       4. Plaintiffs withdraw, without prejudice, their request for injunctive relief that would reach
26           outside the State of California;
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 1       5. For the sake of clarity, nothing in this dismissal precludes Plaintiffs from seeking to renew
 2          their request for injunctive relief outside of the State of California by reopening this
 3          matter. In the event that Plaintiffs seek to re-open the above referenced cases, Defendants
 4          agree that any statute of limitations, statute of repose, or other time-related defense based
 5          on federal, state or any other law (including, but not limited to, defenses based on the
 6          doctrines of waiver, laches, acquiescence, or estoppel) that may be applicable to any of
 7          the claims asserted by Plaintiffs will be deemed tolled. However, nothing in this
 8          dismissal precludes the United States from defending the merits of such a request; and
 9       6. Each party in these actions will bear its own costs and attorney’s fees.
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 1                                       Respectfully submitted,
 2     DENNIS J. HERRERA (CA Bar #139669)                 JOSEPH H. HUNT
       City Attorney                                      Assistant Attorney General
 3     JESSE C. SMITH (CA Bar #122517)                    DAVID L. ANDERSON
       Chief Assistant City Attorney
 4     RONALD P. FLYNN (CA Bar #184186)                   United States Attorney
       Chief Deputy City Attorney                         JOHN R. TYLER
 5     YVONNE R. MERÉ (CA Bar #173594)                    Assistant Director
       Chief of Complex and Affirmative Litigation
 6
 7      /s/ Sara J. Eisenberg                             /s/ Daniel D. Mauler
       SARA J. EISENBERG (CA Bar #269303)                 DANIEL D. MAULER
 8     TARA M. STEELEY (CA Bar #231775)                   (Va. Bar #73190)
       AILEEN M. McGRATH, (CA Bar #280846)
 9     Deputy City Attorneys
                                                          Trial Attorney

10     City Hall, Room 234                                Department of Justice, Civil Division
       1 Dr. Carlton B. Goodlett Place                    P.O. Box 883
11     San Francisco, California 94102-4602               Washington, DC 20044
       Telephone:     (415) 554-4748                      Telephone:    (202) 616-0773
12     Facsimile:     (415) 554-4715                      Facsimile:    (202) 616-8470
       E-Mail:        brittany.feitelberg@sfgov.org
13                                                        E-mail:       dan.mauler@usdoj.gov
       COUNSEL FOR PLAINTIFF
14     CITY AND COUNTY OF SAN                             COUNSEL FOR DEFENDANTS
       FRANCISCO
15
                                                          DONALD J. TRUMP, President of the
                           ***                            United States; UNITED STATES OF
16
                                                          AMERICA; KEVIN K. McALEENAN,
       OFFICE OF THE COUNTY COUNSEL,
17     COUNTY OF SANTA CLARA                              Acting Secretary of Homeland Security;
                                                          WILLIAM P. BARR, Attorney General of
18     JAMES R. WILLIAMS                                  the United States in City & County of San
       County Counsel                                     Francisco v. Trump, et al., No. 3:17-cv-
19
                                                          00485-WHO
        /s/ Javier Serrano
20     JAVIER SERRANO (CA Bar #252266)                    DONALD J. TRUMP, President of the
       Deputy County Counsel
21                                                        United States; KEVIN K. McALEENAN,
       70 West Hedding Street                             Acting Secretary of Homeland Security;
22     East Wing, Ninth Floor                             WILLIAM P. BARR, Attorney General of
       San Jose, CA 95110-1770                            the United States; MICK MULVANEY,
23     Telephone:    (408) 299-5900                       Director of the Office of Management and
       Facsimile:    (408) 292-7240                       Budget in County of Santa Clara v. Trump,
24     E-mail: javier.serrano@cco.sccgov.org
                                                          et al., No. 3:17-cv-00574-WHO
25     COUNSEL FOR PLAINTIFF
       COUNTY OF SANTA CLARA
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 1
 2                                                 ORDER

 3          It appearing to the Court that the parties jointly request the following relief, it is hereby

 4   ORDERED as follows:

 5       1. Final Judgment is hereby entered in favor of the Plaintiffs on the merits for the reasons set

 6          forth in City and County of San Francisco v. Trump, 897 F.3d 1225 (9th Cir. 2018);

 7       2. All Parties agree that the deadline for further review of the Ninth Circuit’s August 1, 2018

 8          decision has passed. Out of an abundance caution, however, the Parties agree that

 9          Defendants shall not seek to pursue any further review from (1) the Ninth Circuit’s

10          decision of August 1, 2018, or (2) the final judgments entered in these cases.

11       3. The enforcement of Section 9 within the State of California is hereby ENJOINED;

12       4. Plaintiffs’ request for injunctive relief that would reach outside the State of California is

13          DISMISSED WITHOUT PREJUDICE;

14       5. For the sake of clarity, this dismissal does not Plaintiffs’ rights to seek to renew their

15          request for injunctive relief outside of the State of California by reopening this matter.

16          In the event that Plaintiffs seek to re-open the above referenced cases, Defendants agree

17          that any statute of limitations, statute of repose, or other time-related defense based on

18          federal, state or any other law (including, but not limited to, defenses based on the

19          doctrines of waiver, laches, acquiescence, or estoppel) that may be applicable to any of

20          the claims asserted by Plaintiffs will be deemed tolled. However, nothing in this

21          dismissal precludes the United States from defending the merits of such a request; and

22       6. Each party in these actions shall bear its own costs and attorney’s fees.

23          IT IS SO ORDERED.
24
25   DATED: _________________, 2019                        _____________________________
                                                           Hon. William H. Orrick
26                                                         United States District Judge
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                                                       5
      Stipulation and [Proposed] Order
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 1                                ATTESTATION OF SIGNATURES
 2          I, Sara J. Eisenberg, hereby attest, pursuant to Local Civil Rule 5-1(i)(3) of the Northern

 3   District of California, that concurrence in the filing of this document has been obtained from each

 4   signatory hereto.

 5                                                         /s/ Sara J. Eisenberg
 6                                                        SARA J. EISENBERG (CA Bar #269303)
 7                                                        COUNSEL FOR PLAINTIFFS
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